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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

In re:                                                     CASE NO: 6:20-bk-05499-LVV
                                                           CHAPTER 7
MARLO PICHARDO aka Marlo Scott Smith aka
Marlo Smith,

         Debtor(s).

________________________________________/

                       FREEDOM MORTGAGE CORPORATION'S
                      RESPONSE TO TRUSTEE'S MOTION TO SELL

         Freedom Mortgage Corporation, its successors and/or assigns ("Secured Creditor"), by

and through its undersigned counsel, responds in conditional consent to the Motion to Sell (Doc

No. 33) (“Motion to Sell”) filed on July 21, 2021 and states as follows:

         1.     On September 30, 2020, the Debtor ("Debtor" as used herein shall include both

Debtors in a joint case), filed a voluntary petition pursuant to Chapter 7 of the Bankruptcy Code.

         2.     Secured Creditor holds a security interest in the Debtor's real property located at

1226 Alaqua Way, West Melbourne, FL 32904 (the “Property”), which is legally described as:




         3.     Further, and more specifically, Secured Creditor holds an interest in the Property

by virtue of that certain mortgage, executed by the Debtor and properly recorded on January 3,

2018, in the Official Records of Brevard County, Florida at Book 8062 Page 1188.

         4.     In the Motion to Sell, the Trustee is requesting to pursue short sale of property.

         5.     Secured Creditor does not necessarily oppose the granting of the Motion to Sell,


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but respectfully requests that: (a)any order provide that secured creditor will be paid in full

subject to a proper payoff; (b) the Trustee’s sale of the Property be explicitly conditioned on

obtaining Secured Creditor’s written consent to the “Short Sale” at or prior to closing; and (c)

that all proceeds from the sale (if consented to by Secured Creditor), less realtor fees and typical

and customary closing costs, shall attach to Secured Creditor’s lien at the time of the sale and

shall not become property of the Debtor’s bankruptcy estate nor be subject to distribution by the

trustee; and (d) the closing and receipt of the funds should be within 90 days from the date of the

Order.

         6.     Absent the aforementioned conditions, Secured Creditor does not consent to the

sale of the Property for an amount that is less than the entire amount of its lien. Secured Creditor

avers that, pursuant to § 363(f), the Trustee may not conduct a “Short Sale” of the Subject

Property without Secured Creditor’s express consent.

         WHEREFORE, Secured Creditor respectfully requests that this Honorable Court grant

the Motion to Sell under the aforementioned conditions and restrictions or, in the alternative,

deny the Debtor’s Motion.

                                               BROCK & SCOTT, PLLC
                                               Attorney for Secured Creditor
                                               2001 Northwest 64th Street, Suite 130
                                               Fort Lauderdale, FL 33309
                                               Phone: 813-342-2200
                                               Fax: 954-618-6954
                                               Floridabklegal@Brockandscott.com

                                               /s/ Patrick Hruby
                                               ______________________________________
                                               PATRICK HRUBY, ESQUIRE
                                               Florida Bar No. 0088657




         I CERTIFY that a true copy hereof has been served electronically or via U.S. mail,


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first-class postage prepaid, to:

                MARLO PICHARDO
                2584 TUSCARORA CT
                MELBOURNE, FL 32904-8089


                Neil J Buchalter
                2395 North Courtenay Parkway
                Suite 203
                Merritt Island, FL 32953

                Emerson C Noble
                Post Office Box 622798
                Oviedo, FL 32762

                United States Trustee - ORL7/13
                Office of the United States Trustee, George C Young Federal Building
                400 West Washington Street, Suite 1100
                Orlando, FL 32801

        this 2nd day of August, 2021.


                                            BROCK & SCOTT, PLLC
                                            Attorney for Secured Creditor
                                            2001 Northwest 64th Street, Suite 130
                                            Fort Lauderdale, FL 33309
                                            Phone: 813-342-2200
                                            Fax: 954-618-6954
                                            Floridabklegal@Brockandscott.com

                                            /s/ Patrick Hruby
                                            ______________________________________
                                            PATRICK HRUBY, ESQUIRE
                                            Florida Bar No. 0088657




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